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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

JASON M. DAY,                      :
                                   :
     Plaintiff,                    :
                                   :
V.                                 :
                                   :   CASE NO. 3:07-CV-388(RNC)
THERESA C. LANTZ, ET AL.,          :
                                   :
     Defendants.1                  :
                                   :

                              RULING AND ORDER

     Plaintiff, an inmate in the custody of the Connecticut

Department of Correction (“DOC”), brings this action pursuant to

42 U.S.C. § 1983 claiming that persons responsible for providing

health care services to DOC inmates have failed to provide him

with proper treatment for an inguinal hernia in violation of the

Eighth Amendment.2    Defendants have filed a motion for summary

judgment contending, among other things, that they have not been

deliberately indifferent to plaintiff’s medical needs.             I agree

and therefore grant the motion.


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      Named as defendants in the complaint are Theresa C. Lantz,
Edward Blanchette, Ricardo Ruiz, Scott Stephenson, Dr. Castro,
Patricia Ottolini, Nasirkuau and John Does. On May 17, 2007, a
videoconference was conducted for the purpose of screening the
pro se complaint in accordance with 28 U.S.C. § 1915A. The Court
subsequently issued a ruling and order permitting Eighth
Amendment claims to proceed against defendants Castro, Ruiz,
Ottolini and Khan (who was listed in the complaint as
“Nasirkuau”). All other claims were dismissed. See Day v.
Lantz, 487 F. Supp. 2d 30 (D. Conn. 2007). Familiarity with the
Court’s ruling and order is assumed.
     2
      An inguinal hernia is a protrusion of the abdominal cavity
through the inguinal canal located in the anterior abdominal
wall.
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I. Standard of Review

     Summary judgment may be granted when there is no “genuine

issue as to any material fact” and the movant is “entitled to

judgment as a matter of law.”      Fed. R. Civ. P. 56(c).        To

withstand a properly supported motion for summary judgment, the

opposing party must come forward with “specific facts showing

that there is a genuine issue for trial.”        Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248 (1986).       In opposing summary

judgment, plaintiff must not “replace conclusory allegations of

the complaint . . . with conclusory allegations of an affidavit”

but instead must offer “significant probative evidence tending to

support the complaint.”      Lujan v. Nat’l Wildlife Fed’n, 497 U.S.

871, 888 (1990)(internal quotations omitted).

     In evaluating the evidence, the court “resolve[s] all

ambiguities and draw[s] all permissible factual inferences in

favor of the party against whom summary judgment is sought.”

Patterson v. County of Oneida, 375 F.3d 206, 219 (2d Cir. 2004).

When the nonmoving party is proceeding pro se, the court reads

the pro se party's papers liberally and interprets them to raise

the strongest arguments they suggest.       See Burgos v. Hopkins, 14

F.3d 787, 790 (2d Cir. 1994).      Nonetheless, a “bald assertion,”

unsupported by evidence, cannot overcome a properly supported

motion for summary judgment.     Carey v. Crescenzi, 923 F.2d 18, 21

(2d Cir. 1991).


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II.   Background

      Plaintiff has been in DOC custody since 1981.           He has been

diagnosed with paranoid schizophrenia and has difficulty trusting

others, including health care providers.

      In February 2005, plaintiff was transferred to Garner

Correctional Institution, where he came under the care of Dr.

Raymond Castro.    On April 28, 2005, plaintiff saw Dr. Castro.             He

complained of a lump on the left side of his groin and reported

that it had been there for six months.        Dr. Castro found a small

inguinal hernia and noted that it was easily reduced (i.e.

manually put back in place).      Dr. Castro provided the plaintiff

with a truss to keep the hernia in place and advised him to call

if the hernia became nonreducible.

      In January 2006, plaintiff was transferred to Cheshire

Correctional Institution.      On June 21, 2006, he was seen by Dr.

Ricardo Ruiz.    Dr. Ruiz found that the plaintiff had a “large

(grapefruit-sized) nonreducible indirect inguinal hernia” and

noted that the plaintiff was complaining of pain and discomfort.

Dr. Ruiz asked DOC’s Utilization Review Committee (“URC”) to

approve a surgical consult.      On June 27, this request was

approved by the URC.

      On August 14, 2007, the plaintiff was taken to the

University of Connecticut Health Center (“UCONN”) for a surgical

consult.   He was examined by Dr. Nasir Khan.         Dr. Khan found that


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the plaintiff had an inguinal hernia on the left side and

recommended that it be surgically repaired as soon as possible.

The URC approved the recommended surgery and directed that it be

done at UCONN.

     Plaintiff did not like the way Dr. Khan treated him during

the surgical consult, particularly Dr. Khan’s refusal to provide

his name in response to plaintiff’s request and his abrupt

rejection of plaintiff’s request that the surgery be performed

under local anesthesia.      Plaintiff wants to have the surgery done

under local anesthesia to avoid the potential complications of

general anesthesia.

     Plaintiff subsequently informed Dr. Ruiz that he was

uncomfortable with the surgeon he saw at UCONN (i.e. Dr. Khan)

because of the way the surgeon treated him.         He asked Dr. Ruiz

for help in arranging to have the surgery performed at another

facility under local anesthesia.        Dr. Ruiz refused this request.

     On November 30, 2006, plaintiff wrote to Nurse Patricia

Ottolini, the Director of Treatment and Addiction Services for

the DOC.   Plaintiff described the negative experience he had at

UCONN and Dr. Ruiz’s refusal to help.       He stated that he was in

constant pain and discomfort due to the hernia and asked to be

treated at a facility other than UCONN.

     On December 11, 2006, Ottolini responded to the plaintiff in

writing.   She stated that surgical care was available to him only


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through UCONN and that the type of anesthesia he would receive

had to be determined by the surgeon and anesthesiologist.                She

urged the plaintiff to make a “responsible decision.”

       In March 2007, plaintiff filed this case claiming that Drs.

Castro and Ruiz had failed to timely and adequately treat his

hernia and that Drs. Ruiz and Khan and Director Ottolini were

being deliberately indifferent to his medical needs by failing

and refusing to have the hernia surgically repaired in accordance

with his wishes.

III.    Discussion

       Under the Eighth Amendment, prisoners have a right to

receive medical treatment for serious medical needs.               See Estelle

v. Gamble, 429 U.S. 97, 103 (1976).           To prove a denial of medical

care in violation of the Eighth Amendment, a prisoner must prove

that the defendant acted with “deliberate indifference to inmate

health or safety.”      Farmer v. Brennan, 511 U.S. 825, 834 (1994);

see also Wilson v. Seiter, 501 U.S. 294, 303 (1991).               An official

acts with deliberate indifference if he “knows of and disregards

an excessive risk to inmate health or safety; the official must

both be aware of facts from which the inference could be drawn

that a substantial risk of serious harm exists, and he must also

draw the inference.”      Farmer, 511 U.S. at 837.         This culpable

state of mind is equivalent to criminal recklessness.               Id. at

839-40; see also Hernandez v. Keane, 341 F.3d 137, 144 (2d Cir.


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2003). An inmate's disagreement with a treating physician’s

choice of treatment is insufficient to support a constitutional

claim.   See Chance v. Armstrong, 143 F.3d 698, 703 (2d Cir.

1998); Dean v. Coughlin, 804 F.2d 207, 215 (2d Cir. 1986); see

also Estelle, 429 U.S. at 105-06.      Judged in light of these well-

established principles, plaintiff’s claims do not raise a proper

issue for trial and the defendants are entitled to judgment as a

matter of law.

     Dr. Castro

     Plaintiff alleges that Dr. Castro exhibited deliberate

indifference by prescribing a truss when the plaintiff’s hernia

was first diagnosed in April 2005 instead of arranging for a

surgical repair.   Dr. Castro responds that the hernia was easily

reducible and, accordingly, a truss was an appropriate form of

treatment.

     Courts have recognized that a reducible hernia is not

sufficiently serious to satisfy the objective prong of a

deliberate indifference claim.     See Nichols v. Pesanti, 2005 WL

356776, at *4 (D. Conn. Feb. 11, 2005); Arroyo v. City of New

York, No. 99 Civ. 1458(JSM), 2003 WL 22211500, at *2 (S.D.N.Y.

Sept. 25, 2003); Iniquez v. Chief Medical Officer, No. C 02-3294

MMC, 2002 WL 31750217, at *2 (N.D.Cal. Dec. 3, 2002).           Even

assuming plaintiff’s condition was objectively serious, there is

no evidence to support a finding that Dr. Castro, in deciding to


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rely on a truss to treat the easily reducible hernia, consciously

disregarded an unreasonable risk of serious harm to the

plaintiff’s health.

     In response to the motion for summary judgment, the

plaintiff has asserted that Dr. Castro gave him the wrong type of

truss.   See Pl.’s Response and Objection (Doc. 39) at 7.

Plaintiff’s assertion fails to raise an issue for trial because

it is conclusory in nature and unsupported by competent evidence.

Accordingly, Dr. Castro is entitled to summary judgment.

     Dr. Ruiz

     Plaintiff claims that his hernia has worsened because of Dr.

Ruiz’s deliberate indifference.        It is unclear whether this claim

is based on acts or omissions by Dr. Ruiz before or after the

plaintiff had his surgical consult at UCONN.         Construing the

claim broadly to encompass both time periods, it does not raise a

proper issue for trial.

     The record before the Court reflects no complaint by the

plaintiff to Dr. Ruiz (or anyone else) concerning a lump or other

condition associated with his hernia until he was examined by Dr.

Castro in April 2005 and found to have a small hernia that was

easily reducible.   When Dr. Ruiz subsequently examined the

plaintiff in June 2006, the hernia had gotten worse and was no

longer reducible.   A nonreducible hernia is a serious medical

condition.   However, there is no evidence that Dr. Ruiz knew the


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plaintiff was suffering from a serious medical condition before

the examination in June 2006.     The record establishes that when

Dr. Ruiz examined the plaintiff and found that the hernia was no

longer reducible, he promptly requested approval of a surgical

consult and his request was granted.       Thus, with regard to the

period culminating in the referral for a surgical consult,

plaintiff cannot prove that Dr. Ruiz was deliberately indifferent

to a serious medical need.

     With regard to the subsequent period, plaintiff’s claim

appears to be that Dr. Ruiz has been deliberately indifferent in

failing to take steps to persuade DOC to provide the plaintiff

with surgery at a facility other than UCONN under local

anesthesia.   This claim is unavailing.      Plaintiff has not shown

that Dr. Ruiz is personally responsible for deciding where the

surgery should be performed or what type of anesthesia should be

used.   The record establishes that the surgery is routine in

nature and there is no allegation or evidence that the surgeons

at UCONN are not capable of performing it.        The issue of which

type of anesthesia should be used is not for Dr. Ruiz to decide.

Accordingly, Dr. Ruiz is entitled to summary judgment.

     C.   Dr. Khan

     Plaintiff’s claim against Dr. Khan, construed generously,

appears to be that Dr. Khan was deliberately indifferent in

failing to accommodate plaintiff’s request that the surgery be


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performed by another surgeon at another hospital under local

anesthesia.     There is no evidence that Dr. Khan had any role in

plaintiff’s health care other than providing the surgical consult

at UCONN.     Plaintiff cannot show that Dr. Khan was deliberately

indifferent in connection with the surgical consult.              Nor is

there evidence of any other constitutional violation by Dr. Khan.

Accordingly, the claim against him does not raise a proper issue

for trial.

       D.   Patricia Ottolini

       Plaintiff claims that Director Ottolini was deliberately

indifferent to his complaints and failed to credit his reasonable

refusal to consent to surgery at UCONN.          The record establishes

that Ottolini investigated plaintiff’s concerns and advised him

of her conclusions in a timely manner.         Plaintiff has not shown

that her rejection of his request evinces deliberate indifference

to a serious risk to his health in violation of the Eighth

Amendment.     Thus, plaintiff cannot recover against Ottolini.

III.    Conclusion

       Defendants’ motion for summary judgment is hereby granted.

The Clerk may enter judgment and close the file.

       So ordered this 25th day of March 2009.



                                             /s/ RNC
                                        Robert N. Chatigny
                                   United States District Judge


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